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                 UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                           SAVANNAH DIVISION

BRUCE BERNARD TOWNSEND,                    )
                                           )
      Movant,                              )
                                           )
v.                                         )        Case No. CV410-287
                                           )                     CR498-106
UNITED STATES OF AMERICA,                  )
                                           )
      Respondent.                          )

                                   ORDER

      Bruce Bernard Townsend has filed a 28 U.S.C. § 2255 motion

challenging this Court’s revocation of his supervised release. CR498-106,

doc. 807.1 After the government moved to dismiss, the Court directed

further briefing. Doc. 835. But the Court also paused to note

Townsend’s “Judicial Notice” filing, where he complained that prison

officials have discriminated against him by failing to provide him with a

diet that conforms to his religious beliefs. Doc. 829. The Court denied

that “Notice” as frivolous. Doc. 835 at 2 n. 3.

      Now Townsend moves for “Judgment on § 2255” on the same

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  The Court is citing only to the criminal docket and using its docketing software's
pagination; it may not always line up with each paper-document's printed pagination.
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religious-discrimination claim. Doc. 836. The motion is DENIED as

frivolous. Townsend obviously doesn’t want to incur the $350 filing fee

expense of filing a separate civil case to redress his religious-

discrimination claim. So, he’s resorted to trying to slip it in here, an

action which costs him nothing.

     He is wasting this Court’s time. He will be sanctioned if he

continues to do so (among other things, the Court can advise that his §

2255 motion be dismissed with prejudice as a contempt sanction).

     SO ORDERED this 22nd day of May, 2012.


                                    UN1'rED STASES MAGISTRATE JUDGE
                                    SOIJThERN DISTRICT OF GEORGIA




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